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Joyce W. Lindauer
State Bar No. 21555700
Joyce W. Lindauer Attorney, PLLC
1412 Main Street, Suite 500
Dallas, Texas 75202
Telephone: (972) 503-4033
Facsimile: (972) 503-4034
ATTORNEY FOR DEBTOR

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE:                                  §
                                        §
PREFERRED READY-MIX LLC,                §        CASE NO. 21-33369
                                        §
        Debtor.                         §              Chapter 11


DEBTOR PREFERRED READY-MIX LLC’S OBJECTION TO CLAIM OF MATTHEW
                     TYSON (CLAIM NO. 13)

        THIS IS AN OBJECTION TO YOUR CLAIM. THIS OBJECTION ASKS
        THE COURT TO DISALLOW THE CLAIM THAT YOU FILED IN THIS
        BANKRUPTCY CASE. IF YOU DO NOT FILE A RESPONSE WITHIN 30
        DAYS AFTER THE OBJECTION WAS SERVED ON YOU, YOUR CLAIM
        MAY BE DISALLOWED WITHOUT A HEARING.
        A HEARING HAS BEEN SET ON THIS MATTER ON APRIL 22, 2022 AT
        11:00 A.M. BEFORE THE HONORABLE JEFFREY P. NORMAN, UNITED
        STATES      BANKRUPTCY    COURT,    515   RUSK   AVENUE,
        COURTROOM 403, HOUSTON, TEXAS 77002.




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TO THE HONORABLE U.S. BANKRUPTCY JUDGE:

        Comes now Preferred Ready-Mix LLC, Debtor herein (“Debtor”), and files this its

Objection to Claim of Matthew Tyson, and would respectfully show this Court as follows:

                                        I. JURISDICTION
        1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This

matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (B).

        2.      Venue is proper pursuant to 28 USC § 1408 and 1409.

                     II. FACTUAL AND PROCEDURAL BACKGROUND

        3.      On October 14, 2021 (“Petition Date”) the Debtor filed a voluntary petition for

relief under Chapter 11 of Title 11 of the United States Code 11 U.S.C. §§ 101 et seq. (the

“Bankruptcy Code”).

        4.      The Debtor’s plan of reorganization has not yet been confirmed.

        5.      Matthew Tyson (the “Claimant”) filed proof of claim no. 13 in the Debtor’s case in

the amount of $57,110.21 (the “Claim”). A true and correct copy of the proof of claim is attached

hereto as Exhibit “A.”

                                  III. OBJECTIONS TO CLAIM

        6.      The Debtor objects to the Claim for the following reasons:

                a.       The Debtor objects to the Claim in its entirety as the Claimant has caused

        irreparable harm to debtor. The harm caused to Debtor by the Claimant exceeds any and

        all amounts claimed against Debtor.

        7.      Claimant was withdrawn as a member of the Debtor due to breach of fiduciary duty,

breaching verbal agreement or otherwise failing to carry out the obligations under the agreement.




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        8.         Claimant borrowed $30,000.00 from his father, Wayne Tyson, using Debtor’s

assets as collateral and absconded with the money. Claimant embezzled money from Debtor by

diverting funds from the Debtor’s account into his personal bank account.

        9.         Debtor suffered irreparable harm due to the detrimental actions by Claimant.

Debtor is not indebted to Claimant as the funds embezzled from Debtor by Claimant exceeds any

amounts owed to Claimant.

        10.        Based on the foregoing, the Debtor objects to the allowance of any part of the

Claim. The Affidavit of Robert Foran is attached hereto as Exhibit “B.”

        WHEREFORE, PREMISES CONSIDERED, the Debtor requests the Court to enter an

order disallowing the Claim and granting such other and further relief to which the Debtor may be

justly entitled.

        Dated: March 8, 2022.

                                                      Respectfully submitted,

                                                        /s/ Joyce W. Lindauer
                                                      Joyce W. Lindauer
                                                      State Bar No. 21555700
                                                      Joyce W. Lindauer Attorney, PLLC
                                                      1412 Main St. Suite 500
                                                      Dallas, Texas 75202
                                                      Telephone: (972) 503-4033
                                                      Facsimile: (972) 503-4034
                                                      ATTORNEYS FOR DEBTOR




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                                      CERTIFICATE OF SERVICE
        This is to certify that on March 8, 2022, a true and correct copy of the foregoing document
was served via email pursuant to the Court’s ECF system upon the parties receiving electronic
notice in this case listed below. The Claimant was served by United States first class certified
mail, return receipt requested, at the address listed below.

VIA CERTIFIED MAIL
RETURN RECEIPT REQUESTED

Matthew Tyson
The Ventress Firm, P.C.
1322 Space Park Dr., Ste C222
Houston, TX 77058

VIA ECF

Robert W Berleth
rberleth@berlethlaw.com

Allison D Byman
adb@bymanlaw.com, adb@trustesolutions.net; rww.trustee1@gmail.com;
cadb11@trustesolutions.net; rah@bymanlaw.com

Hector Duran, Jr
Hector.Duran.Jr@usdoj.gov

Jessica Lee Hoff
jhoff@hofflawoffices.com, JHoff@jubileebk.net

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jkaiser@kaiser-law.com, admin.three@kaiser-law.com

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joyce@joycelindauer.com, dian@joycelindauer.com

Derek W Loetzerich
derek@loetzerichlaw.com

John June-chul Na
john@mnnlawfirm.com, pete@mnnlawfirm.com

Karina Shareen
kshareen@twpdlaw.com


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Brendon D Singh
Bsingh@ts-llp.com, ecf@ctsattorneys.com;corraltransinghllp@jubileebk.net

US Trustee
USTPRegion07.HU.ECF@USDOJ.GOV

Lisa Elizabeth Ventress
lisa@theventressfirm.com




                                                   /s/ Joyce W. Lindauer
                                                 Joyce W. Lindauer




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  Fill in this information to identify the case:

  Debtor 1          Preferred  Ready-Mix LLC
                    __________________________________________________________________

  Debtor 2              ________________________________________________________________
  (Spouse, if filing)

  United States Bankruptcy Court for the: __________
                                          Southern District of of
                                                      District    __________
                                                               Texas

  Case number           21-33369
                        ___________________________________________




 Official Form 410
 Proof of Claim                                                                                                                                                    04/19

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?
                                     Matthew   Tyson
                                     ___________________________________________________________________________________________________________
                                     Name of the current creditor (the person or entity to be paid for this claim)

                                     Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been               ✔
                                        No
   acquired from
   someone else?                        Yes. From whom?         ______________________________________________________________________________________________________



3. Where should notices              Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                           different)
   creditor be sent?
                                     Matthew Tyson
                                     _____________________________________________________                       _____________________________________________________
   Federal Rule of                   Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                    5511 Olympiad Drive
                                     ______________________________________________________                      ______________________________________________________
                                     Number      Street                                                          Number      Street
                                     Houston                    TX          77041
                                     ______________________________________________________                      ______________________________________________________
                                     City                       State             ZIP Code                       City                       State             ZIP Code

                                     Contact phone 832-681-0415
                                                    ________________________                                     Contact phone   ________________________

                                     Contact email   matthew_tyson@yahoo.com
                                                      ________________________                                   Contact email   ________________________



                                     Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                     __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend             ✔
                                        No
   one already filed?
                                        Yes. Claim number on court claims registry (if known) ________                                Filed on   ________________________
                                                                                                                                                  MM / DD       / YYYY



5. Do you know if anyone             ✔
                                        No
   else has filed a proof               Yes. Who made the earlier filing?           _____________________________
   of claim for this claim?



                                                                                                                        EXHIBIT "A"
  Official Form 410                                                            Proof of Claim                                                             page 1
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 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number        ✔ No
                                 
   you use to identify the        Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:      ____ ____ ____ ____
   debtor?



7. How much is the claim?                              57,110.21 Does this amount include interest or other charges?
                                   $_____________________________.
                                                                            ✔ No
                                                                            
                                                                             Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                 Business purchases
                                 ______________________________________________________________________________



9. Is all or part of the claim   ✔ No
                                 
   secured?                       Yes.    The claim is secured by a lien on property.
                                           Nature of property:
                                              Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                              Motor vehicle
                                              Other. Describe:           _____________________________________________________________



                                           Basis for perfection:          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:          $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $____________________



                                           Annual Interest Rate (when case was filed) _______%
                                              Fixed
                                              Variable



10. Is this claim based on a     ✔ No
                                 
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.                  $____________________


11. Is this claim subject to a   ✔ No
                                 
    right of setoff?
                                  Yes. Identify the property: ___________________________________________________________________




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 SUMMARY
 Vehicle purchases: $33,990.00
         $33,000.00 purchase price
         $990 associated credit card fees
 Credit card purchases: $23,120.21
 TOTAL: $57,110.21
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                                                    Barclays ArrivalTM World Mastercard® Statement

 MATTHEW TYSON                                                        | Account Ending 4408               | Statement Period 08/12/19-09/11/19                         Page 1 of 5

   Account Activity                                                                  Payment Information
    Previous Balance as of 08/12/19                                $0.00             Statement Balance:                                                                      $11,330.00
    Payments                                    -                  $0.00             Minimum Payment Due:                                                                      $113.30
    Purchases                                   +         $11,330.00                 Payment Due Date:                                                                         10/08/19
    Fees Charged                                +                  $0.00             Late Payment Warning: If we do not receive your minimum payment by the
    Interest Charged                            +                  $0.00             date listed above, you may have to pay a late fee of up to $39.00.

    Statement Balance as of 09/11/19            =         $11,330.00                 Minimum Payment Warning: If you make only the minimum payment each
                                                                                     period, you will pay more in interest and it will take you longer to pay off your
       APR Details begin on page 2 in the Interest Charge




                                                                                                                                                                                          019697 1/5
                                                                                     balance. For example:
    Calculation section.

      Transaction details begin on page 2.                                                 If you make no              You will pay off the              And you will end up
                                                                                      additional charges using        balance shown on this            paying an estimated total
                                                                                     this card and each month         statement in about…                        of…
   Credit Line                                                                                you pay…

                                                                                          Only the minimum
    Total Revolving Credit Line                           $12,000.00                                                               26 years                      $31,395.00
                                                                                              payment
    Includes $4,800.00 cash advance line
                                                                                                                                                                $15,588.00
    Available Revolving Credit Line                          $670.00                            $433.00                            3 years
                                                                                                                                                          (Savings = $15,807.00)
    as of 09/11/19
    Available for cash advances $670.00                                                 If you would like information about credit counseling services, please call 800-570-1403.



   Miles Summary                                                                 Repayment information based on activity and APR’s on your account as of the closing date.

    Miles Earned This Period                                   11,330
                                                                                SEE INSIDE: You may have additional important messages inside.
    Total Miles Balance                                        11,716
       For details see page 3




NOTICE: SEE REVERSE SIDE OR END OF STATEMENT FOR IMPORTANT INFORMATION


                                                    Ways to pay:              BarclaysUS.com                 Barclays Mobile App              866-558-1107


                                                                           Statement Balance as of 09/11/19: (account ending 4408)                                          $11,330.00
                                                                           Minimum Payment Due:                                                                                $113.30

                                                                                                                                                                                           11
                                                                           Payment Due Date:                                                                                   10/08/19




                                                                                                       Make check payable to Barclays. Allow 7-10 days for USPS delivery.



                                                                                                       Barclays
          ------ manifest line ---------
          MATTHEW TYSON                                                                                P.O. Box 60517
          5511 OLYMPIAD DR                                                                             City of Industry, CA 91716-0517
          HOUSTON TX 77041-5523                                                                        DTTAFADDTTFTDTFTFDTDDADADAFADFATDDFTAAAFDTTADFAAATDFDTDFADDDTDFFT




          DTTAFADDTTFTDTFTFDTDDADADAFADFATDDFTAAAFDTTADFAAATDFDTDFADDDTDFFT



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Barclays ArrivalTM World Mastercard® Statement

MATTHEW TYSON                                                | Account Ending 4408               | Statement Period 08/12/19-09/11/19                   Page 2 of 5


   Transactions
   Transaction Date        Posting Date         Description                                                               Miles                     Amount

   Payments

                                                No Payment Received                                                                                            $0.00

   Total payments for this period                                                                                                  N/A                         $0.00




                                                                                                                                                                        019697 2/5
   Purchase Activity for MATTHEW TYSON card ending 4408

   Sep 09                  Sep 10               INT*IN *PREFERRED READ 832-9451057 TX                                           11,330                    $11,330.00

   Total purchase activity for this period                                                                                      11,330                    $11,330.00



     To see activity after this statement period, visit BarclaysUS.com




   Fees and Interest
   Transaction Date        Posting Date         Description                                                                                         Amount

   Fees Charged

                                                No fees charged for this period                                                                                $0.00

   Total fees for this period                                                                                                                                  $0.00


   Interest Charged

                                                No interest charged for this period                                                                            $0.00

   Total interest for this period                                                                                                                              $0.00



                      2019 Year-to-Date Totals

                      Total fees charged in 2019                                                                                           $0.00

                      Total interest charged in 2019                                                                                       $0.00

                      This Year-to-date summary reflects the Fees and Interest charged on billing statements with closing dates in 2019,
                      and does not reflect any subsequent fee and/or interest adjustments.




   Interest Charge Calculation                                                                                                             Days in Billing Cycle : 31

                                                 Promotional               Balance Subject                     Annual Percentage                          Interest
   Type of Balance                               Rate End Date             to Interest Rate                    Rate (APR)                                 Charge

   Purchases

   Standard Purchases                                   –                              $1,097.11                       21.99%(v)                               $0.00

    continued on page 3




                                                                                                   Visit BarclaysUS.com or use the Barclays Mobile App
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Barclays ArrivalTM World Mastercard® Statement

MATTHEW TYSON                                                        | Account Ending 4408                | Statement Period 08/12/19-09/11/19                      Page 3 of 5


                                                        Promotional                Balance Subject                        Annual Percentage                           Interest
    Type of Balance                                     Rate End Date              to Interest Rate                       Rate (APR)                                  Charge

    Balance Transfers

    Standard Balance Transfers/Checks                           –                                     $0.00                       21.99%(v)                                $0.00

    Cash Advances

    Standard Cash Advance                                       –                                     $0.00                       27.24%(v)                                $0.00




                                                                                                                                                                                     019697 3/5
    Total                                                                                                                                                                  $0.00

         Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v) = Variable Rate that varies with the market based on the Prime Rate.
        See the “Important Information” section of this statement for more information about how we calculate interest.




AVOIDING INTEREST ON PURCHASES (GRACE PERIOD):
If you have a 0% promotional APR on all of your Purchase balances, you can avoid paying interest on those balances during the applicable promotional period. However, pay at least
your Minimum Payment Due to avoid a late fee.

If you have both Purchase balances with an APR greater than 0% and you also have other promotional balances on your Account, you can avoid paying interest on your Purchases by
paying $ 11,330.00 (this amount includes any Minimum Payment Due required to avoid a late fee). Please refer to the “Accrual of Interest and How to Avoid Paying Interest on
Purchases” paragraph on the back of this Statement for further detail.



     Miles Details

    Beginning Miles Balance                                                                                                                                                  386

    Miles earned on qualifying purchases                                                                                                                                  11,330

    Ending Miles balance                                                                                                                                                  11,716



YOUR BALANCE TRANSFER OPPORTUNITY
You have a promotional APR balance transfer offer waiting for you - log on to BarclaysUS.com or call 866-558-1107 by October 31, 2019 to learn more.
Remember, you can also transfer a balance at your standard APR and fees at any time.




                                                                                                              Visit BarclaysUS.com or use the Barclays Mobile App
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Important Information
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Information About Credit Bureau Reporting: We may report information about your                 Mobile: To download the Barclays Mobile App, text MOBILE to 53818.
account to credit bureaus. Late payments, missed payments, or other defaults on your            Phone: Call us at 866-558-1107 and we will process your payment.
account may be reflected in your credit report.
                                                                                                All payments made via web, mobile app or pay by phone by 11:59 p.m. ET will be credited
Annual Fee. If your account has an annual fee, it will be billed each year. We will give you    to your account that same day.
advance notice on your billing statement prior to the assessment of the annual fee. You may
choose to call us at 866-558-1107 within 45 days of receiving such notice to discuss            Overnight Payments: Send overnight courier service or U.S.P.S. Priority Mail payments to
alternative products that may be available or to close your account so that the fee will not    REMITCO, Card Services, Lock Box 60517, 2525 Corporate Park, Suite 250, Monterey Park,
be billed. If your account is closed, any outstanding reward points or miles on your account    CA, 91754. A payment received at this address by 5 p.m. PT that otherwise meets the
may be forfeited at that time. Payment of the annual fee does not affect our ability to close   requirements of a conforming payment will be credited to your account that same day.
your account and/or to limit your transactions.




                                                                                                                                                                                                  019697 4/5
                                                                                                How We Will Calculate Interest. We use a method called “daily balance" (including new
Lost or Stolen Card: Your credit card is issued by Barclays Bank Delaware. If your card is      purchases). We calculate interest separately for each “Balance Subject to Interest Rate.”
lost or stolen, please contact us immediately at 866-558-1107 at any time.                      These include for example, Purchases at the current rate, Balance Transfers at the current
                                                                                                rate, Cash Advances at the current rate, and different promotional balances. Your monthly
Payment Information: Each billing cycle, you must pay at least the Minimum Payment Due          billing statement shows each “Balance Subject to Interest Rate.”
shown on your monthly statement by its Payment Due Date. Both the Minimum Payment
Due and Payment Due Date are noted on your statement and on your home page when you             To calculate interest, we first calculate a daily balance for each Balance Subject to Interest
login to BarclaysUS.com. At any time you may pay more than the Minimum Payment Due up           Rate. We start with the balance, for that Balance Subject to Interest Rate, as of the end of
to the full amount you owe us, however you cannot “pay ahead”. This means that if you           the previous day. We add any interest calculated on the previous day’s balance. (This means
pay more than the required Minimum Payment Due in any billing cycle or if you make more         interest is compounded daily). We add any new Purchases, Balance Transfers or Cash
than one payment in a billing cycle, you will still need to pay the next month’s required       Advances to the appropriate balance, subtract any new payments or credits from the
Minimum Payment Due by your next Payment Due Date. Remember to make all checks                  appropriate balance, and make other adjustments. A credit balance is treated as a balance
payable to Barclays. Please allow 7 to 10 days for the U.S. Postal Service to deliver           of zero. We then multiply each daily balance by the applicable daily periodic rate. We do this
your payment to us. Upon our receipt, your available credit may not be increased                for each day in the billing period. That gives us the daily interest. We add up all the daily
by the payment amount for up to 7 days to ensure the funds from the bank on                     interest for all of the daily balances to get the total interest for the billing period.
which your payment is drawn are collected and not returned. When you provide a
check as payment on this Account, you authorize us to either use the information from your      Accrual of Interest and How to Avoid Paying Interest on Purchases. Your due date is
check to make a one-time electronic fund transfer from your account or to process the           at least 23 days after the close of each billing cycle. On Purchases, interest begins to accrue
payment as a check transaction. When we use information from your check to make an              as of the transaction date. However, you can avoid paying interest on Purchases in any
electronic fund transfer, funds may be withdrawn from your account as soon as the same          given billing cycle if you pay your Statement Balance in full by the Payment Due Date. You
day we receive your payment, and you will not receive your check back from your financial       may also avoid paying interest on Purchases if either Paragraph A or Paragraph B of this
institution. For inquiries, please call 866-558-1107.                                           section applies to your account.


Mailed Payments: A conforming payment received by us by 5 p.m. PT will be credited to           A. If you have Purchase balances with a 0% promotional APR, you can avoid paying interest
your account the day of receipt. A “conforming payment” is a payment that: 1) is mailed         on those Purchase balances during the promotional period, and the following Paragraph B
using the enclosed envelope and payment coupon included with this statement or mailed           will not apply to your account. (However, to avoid a late fee, pay at least your Minimum
with a payment coupon printed from BarclaysUS.com to Barclays, P.O. Box 60517, City of          Payment Due.)
Industry, CA 91716-0517; and 2) is in the form of a single, non-folded check or money order     B. If you have Purchase balances with an APR that is greater than 0%, and you also have
made payable in U.S. dollars from a U.S. based institution. Any payment that does not meet      other types of promotional balances on your account, you still may be able to avoid paying
these requirements, or any payment with multiple checks or money orders, additional             interest on those balances without paying your Statement Balance in full. If this applies to
correspondence, staples, paperclips, etc. will be considered a “non-conforming payment”         your Account, you will see a Paragraph titled “Avoiding Interest on Purchases (Grace
which may delay the crediting of the payment for up to 5 days.                                  Period)” appearing directly below the Interest Charge Calculation section on the front of
                                                                                                this Statement. This will show the amount you can pay by the Payment Due Date and still
Other Payment Options:                                                                          avoid interest charges on your Purchase balances. This amount may differ from your
Web: Visit BarclaysUS.com to set up your payments.                                              Statement Balance. It may differ because you currently have certain promotional APR




                                                                                                                                                                 Continued on page 5


      Make Changes to your contact information below

      Name

      Address

      City                                                  State                                                             Zip

      Home Phone                                            Work Phone

      Email Address
                     CaseCase
                          21-33369
                              21-33369
                                    Claim
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balances, and the nonpayment of these balances will not affect your grace period on              1.      The purchase must have been made in your home state or within 100 miles of your
Purchases, provided you pay all other balances on your account. (However, to avoid a late                current mailing address, and the purchase price must have been more than $50.
fee, pay at least your Minimum Payment Due.)                                                             (Note: Neither of these are necessary if your purchase was based on an advertisement
For Balance Transfers, interest will accrue from the transaction date which generally will be            we mailed to you, or if we own the company that sold you the goods or services.)
the day the payee accepts the Check. For Cash Advances, interest will accrue from the            2.      You must have used your credit card for the purchase. Purchases made with cash
transaction date which generally will be the day you take the Cash Advance. Please note                  advances from an ATM or with a check that accesses your credit card account do not
that purchases of Cash Equivalents, which include money orders, travelers checks, foreign                qualify.
currency, lottery tickets, gambling chips and wire transfers, are treated as Cash Advances       3.      You must not yet have fully paid for the purchase.
and do not have a grace period. See your Cardmember Agreement for more information.
                                                                                                 If all of the criteria above are met and you are still dissatisfied with the purchase, contact us
Minimum Interest Charge: This fee, if imposed, appears in the Summary of Fees as a               in writing at:




                                                                                                                                                                                                     019697 5/5
“Minimum Interest Charge” or “Minimum Charge."
                                                                                                 Card Services
No Pre-Set Spending Limit: “No Pre-Set Spending Limit” does not mean unlimited                   P.O. Box 8802
spending, it means we may permit you from time to time at our discretion to make certain         Wilmington, DE 19899-8802.
charges that will cause your outstanding balance to exceed your revolving credit line. Any
such charge will be considered on an individual basis and such evaluation will be based on       While we investigate, the same rules apply to the disputed amount as discussed above.
your account spending and payment history as well as your experience with other creditors.       After we finish our investigation, we will tell you our decision. At that point, if we think you
If you exceed your revolving credit line, then you must pay, with your Minimum Payment           owe an amount and you do not pay, we may report you as delinquent.
Due, the amount by which your balance exceeds your revolving credit line, including
amounts due to Purchases, Cash Advances, Interest charges, Fees, or other charges.               Please refer to your Cardmember Agreement for additional information about the terms of
                                                                                                 your Account.
Credit Bureau Disputes: If you believe that an entry we have made on your credit bureau
report is inaccurate or incomplete, please contact the reporting agency directly or contact us   ©   2019 Barclays Bank Delaware, member FDIC
at Card Services, P.O. Box 8803 Wilmington, DE 19899-8801. Please include your name;
your account number; the credit reporting agency where you received the bureau report; a
description of the error; and why you believe it is an error. We will promptly investigate,
notify you of our findings, and send an update to the credit bureaus if warranted within 30
days.


What To Do If You Think You Find A Mistake On Your Statement
If you think there is an error on your statement, write to us at:

Card Services
P.O. Box 8802
Wilmington, DE 19899-8802.

In your letter, give us the following information:


•     Account information: Your name and account number.
•     Dollar amount: The dollar amount of the suspected error.
•     Description of problem: If you think there is an error on your bill, describe what you
      believe is wrong and why you believe it is a mistake.

You must contact us within 60 days after the error appeared on your statement.

You must notify us of any potential errors in writing. You may call us, but if you do we are
not required to investigate any potential errors and you may have to pay the amount in
question.

While we investigate whether or not there has been an error, the following are true:
•     We cannot try to collect the amount in question, or report you as delinquent on that
      amount.
•     The charge in question may remain on your statement, and we may continue to
      charge you interest on that amount. But, if we determine that we made a mistake,
      you will not have to pay the amount in question or any interest or other fees related
      to that amount.
•     While you do not have to pay the amount in question, you are responsible for the
      remainder of your balance.
•     We can apply any unpaid amount against your credit limit.

Your Rights If You Are Dissatisfied With Your Credit Card Purchases
If you are dissatisfied with the goods or services that you have purchased with your credit
card, and you have tried in good faith to correct the problem with the merchant, you may
have the right not to pay the remaining amount due on the purchase.

To use this right, all of the following must be true:

                                                                                                                   Visit BarclaysUS.com or use the Barclays Mobile App
CaseCase
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         21-33369
               Claim
                   Document
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                                                                25 of20
                                                                      36of 29
CaseCase
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         21-33369
               Claim
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                                                                                                                                     Discover it Card   ®


                                                                                                                                   Account number ending in 9083
                                                                                                             Open Date: Aug 26, 2019- Close Date: Sep 25, 2019
                                                                                                                                      Cardmember Since 2015

                                                                                                                                                       Page 1 of 4
ACCOUNT SUMMARY                                                         PAYMENT INFORMATION
 Previous Balance                                       $0.00               New Balance                                                     $11,330.00
 Payments and Credits                   +               $0.00               Minimum Payment Due                                                        $227.00
 Purchases                              +          $11,330.00               Payment Due Date                                                 October 20, 2019
 Balance Transfers                      +               $0.00
 Cash Advances                          +               $0.00               Late Payment Warning: If we do not receive your minimum payment by the
 Fees Charged                           +               $0.00               date listed above, you may have to pay a late fee of up to $39.00.
 Interest Charged                       +               $0.00
 New Balance                                       $11,330.00
                                                                       REWARDS
  See Interest Charge Calculation section following the
                                                                                                                                            Anniversary Month
  Transactions section for detailed APR information                         Cashback Bonus®                                                           October
 Credit Line                                           $12,500              Opening Balance                                             $                0.78
 Credit Line Available                                   $1,170             New Cashback Bonus This Period
                                                                              Everywhere Else                                        +$                113.30
 Cash Advance Credit Line                                $2,000             Redeemed This Period                                     - $                 0.00
 Cash Advance Credit Line Available                      $1,170             Cashback Bonus Balance                                     $           114.08
 You may be able to avoid interest on Purchases.                            To learn more, log in at Discover.com
 See reverse for details.




                                    ®
                                        718
                         Your FICO Credit Score on 9/19/19

Track recent FICO® Scores on our mobile app or online

       Please see Notice of Changes
       to Your Payment Address




                                                                                        Make Check payable to Discover. Do Not Send Cash.
NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION                                      Please fold on the perforation below, detach and return with your payment.


                                                                                                                                                              9083

                                                                                                                                                            $227.00
                                                                                                                                                       $11,330.00
                                                                                                                                                 October 20, 2019

  MATTHEW W TYSON
  5511 OLYMPIAD DR
  HOUSTON TX 77041-5523



                                                                                                       PO BOX 790213
                                                                                                       ST. LOUIS, MO 63179-0213
    Phone and Internet payments must be received before midnight ET on your due date to be
    credited as of the same day.
    Address, e-mail or telephone changed? Note changes on reverse side.


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  MATTHEW W TYSON
             CaseCase
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Important Information                                                                You can set automatic payments for: (i) statement New Balance, (ii) statement
See your Cardmember Agreement. Your Cardmember Agreement contains                    Minimum Payment Due, (iii) statement Minimum Payment Due plus a fixed
all the terms of your Account.                                                       dollar amount, or (iv) other dollar amount. If your scheduled "Other dollar
Lost or stolen cards. Report immediately! Call 1-800-347-3085.                       amount" payment is not enough to cover the Minimum Payment Due as listed
                                                                                     on your monthly billing statement, your scheduled payment for that month
What To Do If You Think You Find A Mistake On Your Statement:                        will be increased to cover the Minimum Payment Due. If the scheduled
If you think there is an error on your statement, write to us at Discover, PO        payment is greater than the Minimum Payment Due, any excess will be
Box 30421, Salt Lake City, UT 84130-0421, or submit the form provided at             applied in accordance with your Cardmember Agreement. If your scheduled
https://discover.com/billingerrornotice. You must contact us within 60 days          payment is greater than the New Balance on your billing statement, that
after the error appeared on your statement. You may call us, but if you do           payment will be processed only for the amount of your New Balance. Your
we are not required to investigate any potential errors, and you may have to         automatic payment amount may be less than the amount indicated on the
pay the amount in question. The Billing Rights Notice further explains your          billing statement based on credits or payments after the Close Date.
rights. Please see your Cardmember Agreement or visit
https://discover.com/billingrights for a copy of this Notice.                        If you enroll by phone in our automatic payment service, please fill-in the
                                                                                     following blanks below and retain the authorization for your records.
Payments. You may pay all or part of your Account balance at any time.
However, you must pay at least the Minimum Payment Due by the Payment                Amount:   Full Pay________ Min Pay________ Min Pay+ $____________;
Due Date. Send only your allowable form of payment ("Payment") and the
bottom portion of this statement in the envelope provided, after affixing              Other Amount$_____________; Bank Routing #:__________________;
postage. Payments sent without proper postage will be returned to the                Bank Account #__________________;
sender. If you pay by check, you authorize us to use information on your
check to make an electronic fund transfer from your account at the financial         Monthly on the        Payment Due Date
institution indicated on your check or to process the payment as a check              ___________Day of month (insert date)
transaction. If a Payment is processed as an electronic fund transfer, the
transfer will be for the amount of the check, funds may be withdrawn from
your account as soon as the same day we receive your check, and you will             Credit Reporting. We may report information about your Account to credit
not receive your check back.                                                         bureaus. Late payments, missed payments, or other defaults on your Account
                                                                                     may be reflected in your credit report. We normally report the status and
Please do not send cash. Sending cash is not allowed. The processing of              payment history of your Account to credit reporting agencies each month. If
your allowable form of Payment may be delayed if you send cash or                    you believe that our report is inaccurate or incomplete, please write us at this
correspondence with your Payments, if you send the Payment to any other              address: Discover, PO Box 15316, Wilmington, DE 19850-5316. Please
address, or if you use an envelope other than the one provided. Payments             include your name, address, home telephone number and Account number.
received at our processing facility by 5PM local time on any day will be
credited to your Account as of that day. Payments received at our processing         Paying Interest. Your due date is at least 25 days after the close of each
facility after 5PM local time will be credited to your Account as of the next        billing period (at least 23 days for billing periods that begin in February). We
day. If you hove misplaced your envelope, send your Payment to Discover,
PO Box 6103, Carol Stream, IL 60197-6103. Please allow 7-10 days for                 will not charge you any interest on Purchases if you pay your entire balance
delivery. If your Payment is returned unpaid, we reserve the right to resubmit       by the due date each month. We will begin charging interest on Cash
it as on electronic debit. Payments made online or by phone will be credited         Advances and Balance Transfers as of the later of the Transaction Date or the
as of the day of receipt if made by Midnight ET on the Payment Due Date or           first day of the billing period in which the transaction posted to your Account.
5PM ET on any other day.
                                                                                     How We Calculate Interest Charges. We Use the Daily Balance Method
You can also make a Payment or set up automatic payments by calling                  (including current transactions) to calculate the Balance Subject to Interest
1-800-347-3085. Automatic payments for the billing period shown on your              Rate. For more information, please call us at 1-800-347-3085.
statement will be deducted on the Payment Due Date shown on that
statement, or the next automatic payment date referred to on your statement,         Balance Subject to Interest Rate. Your statement shows a Balance Subject
unless you request a recurring payment date that occurs before your Payment          to Interest Rate. It shows this for each transaction category. The Balance
Due Date. If your scheduled payment date falls on a weekend or bank
holiday, your payment will be processed the business day prior to the                Subject to Interest Rate is the average of the daily balances during the billing
weekend or bank holiday. In order to schedule monthly payments by                    period.
telephone, you will need this statement and your bank account information.
You will be asked to provide the lost four (4) digits of the social security         Credit Balances. If your Account has a credit balance, the amount is shown
number of the primary borrower as your electronic signature. By providing            on the front of your billing statement. A credit balance is money that is owed
those numbers, you will be agreeing to this authorization to allow us and            to you. You may make charges against this amount if your Account is open.
your bank to deduct each payment you authorize, in the amount selected by            We will send you a refund of any remaining balance of $1.00 or more after
you, from your bank account. You also authorize us to initiate debit or credit       6 months, or as otherwise required by applicable law, or upon request made
entries to your bank account, as applicable, to correct an error in the              to the address in the Contact Us section on page 3 of your billing statement.
processing of such payment. You can cancel a scheduled payment by phone
at 1-800-347-3085 or by mail at Discover, PO Box 30421, Salt Lake City,              Balance Transfers. Balance Transfers are offered at our discretion and
UT 84130-0421; payment cancellations must be received before 5 PM ET of              accrue interest at the standard purchase rate unless we tell you otherwise.
the scheduled withdrawal date.
                                                                                     Discover may monitor and/or record telephone calls between you and
If your payments may vary in amount, we will tell you on each monthly billing        Discover representatives for quality assurance purposes.
statement when your payment will be made and how much it will be. You
must ensure that sufficient funds are available in your bank account, and all        The Discover® card is issued by Discover Bank, Member FDIC.        DIT23-26.0218
transactions must comply with U.S. law.




  CHANGE OF ADDRESS
      If correct on front, do not use. Please print clearly in blue or black ink, in the space provided.

      Street Address                                                                     Home Phone


                                                                                         Work Phone


      City                                                                               Email


      State, Zip



  To make changes to your address, email or telephone number, visit Discover.com
                                                                                                                                                 Continued on next page
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                                                                                                                                 Account number ending in 9083
                                                                                                         Open Date: Aug 26, 2019 - Close Date: Sep 25, 2019
                                                                                                                                                    Page 3 of 4


CONTACT US
           Web                            Mobile                             Phone                              Inquiry                  Mail Payments
           Access your                    Manage your                                                           Discover                 Discover
           account securely               account anytime,                   1-800-347-3085                     PO Box 30943             PO Box 6103
           at Discover.com                anywhere at                        TDD 1-800-347-7449                 Salt Lake City           Carol Stream
                                          m.Discover.com                                                        UT 84130                 IL 60197-6103

Transactions
                                  Trans. Date       Post Date

Travel/Entertainment              Sep 9             Sep 9        IN *PREFERRED READY-MI 832-9451057 TX                                    $              11,330.00
                                                                 ANJ89U65
                                                                                                                                          $
Fees                                                             TOTAL FEES FOR THIS PERIOD                                                                   0.00

                                                                                                                                          $
Interest Charged                                                  TOTAL INTEREST FOR THIS PERIOD                                                              0.00



2019 Totals Year-to-Date
                                                                                                                                          $
                                                                  TOTAL FEES CHARGED IN 2019                                                                  0.00
                                                                                                                                          $
                                                                  TOTAL INTEREST CHARGED IN 2019                                                              0.00

Interest Charge Calculation
Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Current Billing Period: 31 days
                                            ANNUAL PERCENTAGE               PROMO APR                       BALANCE SUBJECT TO                INTEREST
TYPE OF BALANCE                             RATE (APR)*                     EXPIRATION DATE**               INTEREST RATE                     CHARGE
Purchases                                   24.99% V                        N/A                             $0.00                             $0.00
Cash Advances                               26.99% V                        N/A                             $0.00                             $0.00
V=Variable Rate
* If your account is currently enrolled in a special program or is placed into one during the term of the offer, you will receive the benefit of the lower rate
    while the special program is in effect. This includes, if applicable, any lower rates as authorized under the Servicemembers Civil Relief Act.
** This is the date your promotional rate expires and the remaining balance will be moved to your standard APR disclosed when you accepted the offer.
    Please note: Changing your payment due date may change your Promo APR Expiration Date.
*** For more information, please call us at 1-800-347-2683.



Information For You

          Notice of Changes to Your Payment Address
          As of your billing cycle in October, your payment address will change. The new address will be provided on the October billing statement. At the
          time of your change, you should update your online banking information with your bank to include this new address.




                                                                                        NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMATION
MATTHEW W TYSON
           CaseCase
                21-33369 Account
                    21-33369Claimnumber
                                    13ending
                                  Document   in131
                                         Filed 9083     Open
                                                 02/14/22
                                                    Filed    Date:
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Information For You ... Continued

FICO® Credit Score Terms

Your FICO® Credit Score, key factors, and other credit information use the FICO® Score 8 model. They are based on data from TransUnion® and may be
different from other credit scores and other credit information provided by different bureaus. This information is intended for and only provided to Primary
account holders who have an available score. Your score, key factors and other credit information are available on Discover.com and cardmembers are also
provided a score on statements. Customers will see up to a year of recent scores online. Discover and other lenders may use different inputs, such as FICO®
Credit Scores, other credit scores and more information in credit decisions. This benefit may change or end in the future. FICO is a registered trademark of
the Fair Isaac Corporation in the United States and other countries.

If you prefer not to receive your FICO® Credit Score just call us at 1-800-DISCOVER (1-800-347-2683). Please give us two billing cycles to process your
request.

Discover Financial Services and Fair Isaac are not credit repair organizations as defined under federal or state law, including the Credit Repair Organizations
Act. Discover Financial Services and Fair Isaac do not provide "credit repair" services or assistance regarding "rebuilding" or "improving" your credit record,
credit history or credit rating.

Availability of FICO® Credit Score

As an active cardmember, you may see your FICO® Credit Score on your monthly statement or online. Reasons why you may not see your FICO® Credit
Score include: if you opt out; if you have key information that is mismatched or missing, as one example, an address change that has not been updated with
Discover or TransUnion®; if your credit history is too new; if your account status is abandoned, bankrupt, fraud, lost or stolen, closed, revoked, or charged
off; if you have a foreign address. Your FICO® Score is disclosed on statements when your statement is available. You may not receive a statement if you
have no account activity such as no purchase transactions, fees, interest, or payments for approximately 30 days.

.


More from Discover

Did you know that checking comes with cash back, too? Pinch me.
Your credit card isn't the only thing that earns you cash back. Now you can earn 1% cash back on up to $3,000 in debit card purchases each month* with
Discover Cashback Debit. Visit DiscoverBank.com/Debit to learn more.
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   MWT Credit Card           Date     Description                                 Debits     Credits
   CapOne Visa 9359       19-Sep-19   ExxonMobil                                    $20.00
   CapOne Visa 9359       19-Sep-19   ExxonMobil                                    $20.23
   CapOne Visa 9359       23-Sep-19   Castro Graphics                              $129.90
   Citi DC M/C 2396       23-Sep-19   H&G Welding                                $1,800.00
   CapOne Visa 9359       25-Sep-19   Whitener Enterprises                       $1,943.28
      AmEx 71007          27-Sep-19   RB Acutioneers - Util Truck                $3,204.71
   Citi DC M/C 2396        2-Oct-19   Cortes World Truck Parts                     $102.53
   Citi DC M/C 2396        2-Oct-19   O'Reilly Auto Parts                           $30.25
   Citi DC M/C 2396        2-Oct-19   O'Reilly Auto Parts                            $8.60
   Citi DC M/C 2396        3-Oct-19   CRB Towing                                   $715.05
   Citi DC M/C 2396        3-Oct-19   EDS                                          $760.00
   Citi DC M/C 2396        3-Oct-19   O'Reilly Auto Parts                            $6.68
   Citi DC M/C 2396        3-Oct-19   Sunbelt Rentals                               $49.80
   Citi DC M/C 2396        3-Oct-19   Walmart                                       $17.80
   Citi DC M/C 2396        6-Oct-19   Harbor Freight Tools                          $28.11
   CapOne Visa 9359        8-Oct-19   Cortes World Truck Parts                     $481.90
   Citi DC M/C 2396        8-Oct-19   Interest Pro-rated                           $157.20
   Citi DC M/C 2396        9-Oct-19   Walmart                                       $12.93
   Citi DC M/C 2396       10-Oct-19   Cortes World Truck Parts                     $104.71
   Citi DC M/C 2396       10-Oct-19   O'Reilly Auto Parts                           $95.60
   Citi DC M/C 2396       10-Oct-19   Sunbelt Rentals                               $87.14
   Citi DC M/C 2396       10-Oct-19   Whitener Enterprises                          $59.02
   Citi DC M/C 2396       10-Oct-19   Whitener Enterprises                       $1,967.63
   Citi DC M/C 2396       14-Oct-19   ChecksForLess.com                             $70.40
   Citi DC M/C 2396       14-Oct-19   Cortes World Truck Parts                     $180.84
   Citi DC M/C 2396       15-Oct-19   Cortes World Truck Parts                     $102.44
   CapOne Visa 9359       17-Oct-19   Interest Pro-rated                             $8.53
   Citi DC M/C 2396       17-Oct-19   John S Pocock                              $3,000.00
   Citi DC M/C 2396       19-Oct-19   Harbor Freight Tools                         $259.79
      AmEx 71007          24-Oct-19   Payment - PRM Main Chase 6192                          ($500.00)
   Citi DC M/C 2396       31-Oct-19   AutoZone                                     $102.29
   Citi DC M/C 2396       31-Oct-19   Progressive Truck Insurance                $3,000.00
      AmEx 71007           1-Nov-19   Cargo Container                            $1,483.97
   Citi DC M/C 2396        1-Nov-19   Imperial Wrecker                             $947.18
   Citi DC M/C 2396        5-Nov-19   Cortes World Truck Parts                     $764.40
   Citi DC M/C 2396        5-Nov-19   CRB Towing                                 $1,005.21
      AmEx 71007           8-Nov-19   AMEX Interest Charge                          $58.63
   Citi DC M/C 2396        8-Nov-19   Interest Pro-rated                           $170.61
   CapOne Visa 9359       16-Nov-19   Interest Pro-rated                             $8.82
      AmEx 71007          22-Nov-19   Payment - PRM Equip Chase 0766                         ($500.00)
      AmEx 71007          26-Nov-19   Truckman Part - T102 engine rebuild         $770.33
   Barclay M/C 4408        5-Dec-19   Payment - PRM Equipment Acct                           ($105.00)
Chase Freedom Visa 7372    5-Dec-19   Payment - PRM Equipment Acct                           ($100.00)
   Citi DC M/C 2396        5-Dec-19   Payment - PRM Equipment Acct                           ($350.00)
   Citi DC M/C 2396        9-Dec-19   Interest Pro-rated                          $168.37
      AmEx 71007          10-Dec-19   AMEX Interest Charge                         $91.52
   CapOne Visa 9359       14-Dec-19   Payment - PRM Equipment Acct                           ($250.00)
      AmEx 71007          17-Dec-19   Northern Tool - fuel meter                  $109.32
      AmEx 71007          17-Dec-19   Robidoux Inc - compressor vibration pads     $19.38
   CapOne Visa 9359       17-Dec-19   Interest Pro-rated                            $7.71
      AmEx 71007          24-Dec-19   AutoZone                                     $25.96
      AmEx 71007           2-Jan-20   Harbor Frieght - drill bits                  $24.89
      AmEx 71007           3-Jan-20   Harbor Freight                               $40.03
      AmEx 71007           3-Jan-20   Home Depot                                    $8.03
      AmEx 71007           3-Jan-20   Payment - PRM Equipment Acct                           ($140.00)
   Barclay M/C 4408        3-Jan-20   Payment - PRM Equipment Acct                           ($135.00)
Chase Freedom Visa 7372    3-Jan-20   Payment - PRM Equipment Acct                           ($100.00)
   Citi DC M/C 2396        3-Jan-20   Payment - PRM Equipment Acct                           ($325.00)
      AmEx 71007           6-Jan-20   VistaPrint - Biz Cards                       $36.80
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   Citi DC M/C 2396        8-Jan-20    Interest Pro-rated                        $166.41
   CapOne Visa 9359        9-Jan-20    Payment - PRM Equipment Acct                        ($145.00)
      AmEx 71007          10-Jan-20    AMEX Interest Charge                      $101.30
      AmEx 71007          15-Jan-20    Office Depot - QB Desktop Pro             $216.49
   CapOne Visa 9359       17-Jan-20    Interest Pro-rated                          $7.48
      AmEx 71007          20-Jan-20    Home Depot                                 $39.50
      AmEx 71007          21-Jan-20    Home Depot                                 $31.45
      AmEx 71007          24-Jan-20    Home Depot                                 $27.20
      AmEx 71007           1-Feb-20    Payment - PRM Equipment Acct                        ($155.00)
Chase Freedom Visa 7372    2-Feb-20    Payment - PRM Equipment Acct                        ($105.00)
   Barclay M/C 4408        6-Feb-20    Payment - PRM Equipment Acct                        ($145.00)
   Citi DC M/C 2396        6-Feb-20    Payment - PRM Equipment Acct                        ($321.00)
      AmEx 71007           7-Feb-20    AMEX Interest Charge                       $97.85
   Citi DC M/C 2396       10-Feb-20    Interest Pro-rated                        $164.48
   CapOne Visa 9359       12-Feb-20    Payment - PRM Equipment Acct                        ($145.00)
   CapOne Visa 9359       17-Feb-20    Interest Pro-rated                          $6.98
      AmEx 71007          28-Feb-20    Payment - PRM Equipment Acct                        ($155.00)
   Barclay M/C 4408       28-Feb-20    Payment - PRM Equipment Acct                        ($145.00)
   Citi DC M/C 2396        6-Mar-20    Payment - PRM Equipment Acct                        ($318.00)
Chase Freedom Visa 7372    7-Mar-20    Payment - PRM Equipment Acct                        ($105.00)
   Citi DC M/C 2396        9-Mar-20    Interest Pro-rated                        $162.57
      AmEx 71007          10-Mar-20    AMEX Interest Charge                      $109.85
   CapOne Visa 9359       14-Mar-20    Payment - PRM Equipment Acct                        ($145.00)
   CapOne Visa 9359       17-Mar-20    Interest Pro-rated                          $6.07
      AmEx 71007           2-Apr-20    Payment - PRM Equipment Acct                        ($163.00)
   Barclay M/C 4408        2-Apr-20    Payment - PRM Equipment Acct                        ($136.00)
Chase Freedom Visa 7372    2-Apr-20    Payment - PRM Equipment Acct                        ($102.00)
   Citi DC M/C 2396        2-Apr-20    Payment - PRM Equipment Acct                        ($471.08)
   Citi DC M/C 2396        8-Apr-20    Interest Pro-rated                        $158.71
      AmEx 71007           9-Apr-20    AMEX Interest Charge                       $97.75
   CapOne Visa 9359       14-Apr-20    Payment - PRM Equipment Acct                        ($144.00)
   CapOne Visa 9359       17-Apr-20    Interest Pro-rated                          $6.00
   CapOne Visa 9359       28-Apr-20    AutoZone                                   $16.23
   CapOne Visa 9359       28-Apr-20    O'Reilly Auto Parts                        $16.25
   CapOne Visa 9359       1-May-20     Shell Station - PRM Diesel Fuel Account   $203.10
   Citi DC M/C 2396        8-May-20    Interest Pro-rated                        $160.69
      AmEx 71007          10-May-20    AMEX Interest Charge                       $99.98
   CapOne Visa 9359       16-May-20    Interest Pro-rated                          $6.63
   CapOne Visa 9359       16-May-20    O'Day HW                                   $27.56
   CapOne Visa 9359       16-May-20    O'Day HW                                             ($12.11)
   CapOne Visa 9359       25-May-20    O'Day HW                                              ($8.87)
      AmEx 71007           4-Jun-20    Payment - PRM Equipment Acct                        ($152.00)
   Barclay M/C 4408        5-Jun-20    Payment - PRM Equipment Acct                        ($130.00)
   CapOne Visa 9359        5-Jun-20    Tx SOS                                      $4.11
   Citi DC M/C 2396        8-Jun-20    Interest Pro-rated                        $162.70
      AmEx 71007           9-Jun-20    AMEX Interest Charge                       $95.88
   CapOne Visa 9359       17-Jun-20    Interest Pro-rated                          $6.84
   CapOne Visa 9359         2-Jul-20   Tx SOS                                      $5.14
   Citi DC M/C 2396         8-Jul-20   Interest Pro-rated                        $164.73
      AmEx 71007           10-Jul-20   AMEX Interest Charge                       $97.90
   CapOne Visa 9359        17-Jul-20   Interest Pro-rated                          $6.63
   CapOne Visa 9359        22-Jul-20   Tx SOS                                      $1.03
      AmEx 71007          10-Aug-20    AMEX Interest Charge                       $97.04
   Citi DC M/C 2396       10-Aug-20    Interest Pro-rated                        $166.79
   CapOne Visa 9359       17-Aug-20    Interest Pro-rated                          $6.86
   Citi DC M/C 2396        8-Sep-20    Interest Pro-rated                        $168.88
      AmEx 71007           9-Sep-20    AMEX Interest Charge                       $92.99
   CapOne Visa 9359       17-Sep-20    Interest Pro-rated                          $6.86
   Citi DC M/C 2396        8-Oct-20    Interest Pro-rated                        $170.99
      AmEx 71007           9-Oct-20    AMEX Interest Charge                       $73.86
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CapOne Visa 9359   17-Oct-20   Interest Pro-rated              $6.64
Citi DC M/C 2396   9-Nov-20    Interest Pro-rated            $173.12
CapOne Visa 9359   19-Nov-20   Interest Pro-rated              $7.30
Citi DC M/C 2396   8-Dec-20    Interest Pro-rated            $175.28
CapOne Visa 9359   16-Dec-20   Tx SOS                          $1.03
CapOne Visa 9359   19-Dec-20   Interest Pro-rated              $6.86
Citi DC M/C 2396    8-Jan-21   Interest Pro-rated            $177.47
CapOne Visa 9359   19-Jan-21   Interest Pro-rated              $6.86
Citi DC M/C 2396    8-Feb-21   Interest Pro-rated            $179.69
CapOne Visa 9359   17-Feb-21   Interest Pro-rated              $6.20
Citi DC M/C 2396    8-Mar-21   Interest Pro-rated            $181.94
CapOne Visa 9359   20-Mar-21   Interest Pro-rated              $6.86
Citi DC M/C 2396    8-Apr-21   Interest Pro-rated            $184.21
Citi DC M/C 2396   8-May-21    Interest Pro-rated            $186.51

                                                           $28,828.27   ($5,708.06)

                               Remaining PRM Debt          $23,120.21
                               % Debt Remaining                80.20%
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